Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 1 of 26 PageID: 4607




  Justin T. Quinn                             CONTAINS ATTORNEYS’ EYES
  ROBINSON MILLER LLC                             ONLY INFORMATION
  One Newark Center, 19th Floor                DESIGNATED BY PLAINTIFF
  Newark, New Jersey 07102                   UNDER THE PROTECTIVE ORDER
  973-690-5400
  jquinn@rwmlegal.com                               FILED UNDER SEAL



  Attorneys for Defendants

                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

   WAG Acquisition, L.L.C.,

                       Plaintiff,
                                          Civil Action No. 2:14-cv-02340
   v.                                               (ES)(MAH)

   Multi Media, L.L.C., et al.,

                       Defendants.

   WAG Acquisition, L.L.C.,

                       Plaintiff,         Civil Action No. 2:14-cv-02345
                                                    (ES)(MAH)
   v.

   Data Conversions, Inc., et al.,

                       Defendants.
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 2 of 26 PageID: 4608




   WAG Acquisition, L.L.C.,

         Plaintiff,                       Civil Action No. 2:14-cv-02674
                                                    (ES)(MAH)
   v.

   Flying Crocodile, Inc., et al.,

                       Defendants.

   WAG Acquisition, L.L.C.,

         Plaintiff,                       Civil Action No. 2:14-cv-02832
                                                    (ES) (MAH)
   v.

   Gattyán Group S.à r.l., et al.,

                       Defendants.

   WAG Acquisition, L.L.C.,

         Plaintiff,                       Civil Action No. 2:14-cv-03456
                                                    (ES)(MAH)
   v.

   FriendFinder Networks Inc., et al.,

                       Defendants.
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 3 of 26 PageID: 4609




   WAG Acquisition, L.L.C.,

             Plaintiff,                   Civil Action No.2:14-cv-04531
                                                    (ES)(MAH)
   v.

   Vubeology, Inc., et al.,

                          Defendants.

   WAG Acquisition, L.L.C.,

             Plaintiff,                   Civil Action No.2:15-cv-03581
                                                    (ES)(MAH)
   v.

   WebPower, Inc., d/b/a WP Associates

   et al.,

                          Defendants.


     DEFENDANTS’ OBJECTION TO REPORT AND RECOMMENDATION
       DENYING DEFENDANTS’ MOTION TO DISMISS FOR LACK OF
                  SUBJECT MATTER JURISDICTION
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 4 of 26 PageID: 4610




                                                      Table of Contents

  I.         INTRODUCTION .............................................................................................1
  II.        RELEVANT FACTUAL BACKGROUND......................................................2
  III.        ARGUMENT....................................................................................................3
        A.        Legal Standard ...............................................................................................3
        B.                                                                                                              ..............5
             1.                                                                                                                  .....5
             2.                                                                                            ...........................6
             3.
                                    ...................................................................................................8
             4.                                                            .........................................................10
        C.                                                                                                      ....................12
             1.                                                                                       ..............................12
             2.
                                      ...............................................................................................13
        D.                                                            ...............................................................14
             1.                                                                  ...................................................14
             2.     The Threat of Multiple Lawsuits Exists ...................................................15
        E.
                                                                                                                 ...................16
  IV.         CONCLUSION ..............................................................................................18




                                                                     i
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 5 of 26 PageID: 4611




                                           Table of Authorities

                                                                                                       Page(s)
  Cases

  Alfred E. Mann Found. for Sci. Research v. Cochlear Corp.,
     604 F.3d 1354 (Fed. Cir. 2010) ...................................................................passim
  Alps S., LLC v. Ohio Willow Wood Co.,
     787 F.3d 1379 (Fed. Cir. 2015) ............................................................................ 3

  Int’l Gameco, Inc. v. Multimedia Games, Inc.,
      504 F.3d 1273 (Fed. Cir. 2007) ..................................................................3, 4, 17

  Intellectual Prop. Dev., Inc. v. TCI Cablevision of Cal., Inc.,
     248 F.3d 1333 (Fed. Cir. 2001) ...................................................................... 4, 16
  Morrow v. Microsoft Corp.,
    499 F.3d 1332 (Fed. Cir. 2007) ...................................................................passim

  Propat Int’l Corp. v. Rpost, Inc.,
     473 F.3d 1187, 1192 (Fed. Cir. 2007) .........................................................passim

  Rd. Sci., L.L.C. v. Cont’l W. Transp. Co.,
     2009 U.S. Dist. LEXIS 122262 (E.D. Cal. Dec. 14, 2009) ................................ 17

  Sicom Sys. v. Agilent Techs., Inc.,
     427 F.3d 971 (Fed. Cir. 2005) .....................................................................passim
  Speedplay, Inc. v. Bebop, Inc.,
     211 F.3d 1245 (Fed. Cir. 2000) ................................................................9, 13, 14

  Textile Prods., Inc. v. Mead Corp.,
     134 F.3d 1481 (Fed. Cir. 1998) .......................................................................... 12

  Trendx Enters. v. All-Luminum Prods.,
     856 F. Supp. 2d 661 (D.N.J. Apr. 18, 2012)................................................... 4, 17

  Vaupel Textilmaschinen KG v. Meccanica Euro Italia SPA,
    944 F.2d 870 (Fed. Cir. 1991) .............................................................................. 4



                                                         ii
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 6 of 26 PageID: 4612




  Other Authorities

  Fed. R. Civ. P. 12(b)(1).............................................................................................. 1




                                                            iii
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 7 of 26 PageID: 4613




           Defendants respectfully submit these objections to the Report and

  Recommendation (“R&R”) issued by United States Magistrate Judge Michael

  Hammer. Specifically, Defendants object to the recommendation that the Court

  deny Defendants’ motion to dismiss for lack of subject matter jurisdiction under Fed.

  R. Civ. P. 12(b)(1).

                                   I.   INTRODUCTION

           WAG initiated its patent assertion campaign in 2014 (the “Litigations”), three

  years before WAG begrudgingly produced information demonstrating that it alone

  does not have standing to bring these actions against Defendants. WAG’s standing

  defect arises out of its contractual arrangements with Woodsford Litigation Funding

  (US) Limited (“WLF”) to finance WAG’s Litigations, which include the above-

  captioned cases. On October 22, 2018, Judge Hammer recommended that this Court

  deny Defendants’ motion to dismiss for lack of subject matter jurisdiction. See Dkt.

  175 in 14-cv-2340 (“R&R”). The R&R notes that “[t]his matter is distinguishable

  from much of the caselaw on which the parties rely. Most of those cases involved

  licensing agreements . . . .” R&R at 13. But the form of the contract by which

  substantial patent rights are transferred is not the operative point. Rather, the

  operative point is what rights were transferred.

           Defendants respectfully object to the R&R, which runs contrary to the

  analogous case law involving licenses, and discounts the substantial rights that WAG

  118105.0044/7473846.1
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 8 of 26 PageID: 4614




  surrendered to WLF in exchange for funding to bring these Litigations. Defendants

  assert that WAG lacks standing to bring the Litigations—at the very least without

  joining WLF. For the reasons stated below, Defendants respectfully request that this

  Court sustain Defendants’ objection and grant their motion to dismiss for lack of

  subject matter jurisdiction.

                   II.   RELEVANT FACTUAL BACKGROUND

        As detailed in Defendants’ Memorandum of Law in Support of its Motion to

  Dismiss, see Dkt. 163 in 14-cv-2340, WAG sought to hide all evidence of its

  litigation funding agreements.     WAG failed to disclose WLF in its Initial

  Disclosures, failed to produce any discovery identifying WLF, and resisted

  discovery efforts that could be used to identify WLF. WAG has never joined or

  named WLF as a party to the Litigations, even though WLF shares substantial rights

  in the patents-in-suit, such that WAG alone does not have standing.

        The R&R notes the following rights that WLF has under its agreements with

  WAG: (1)




                                           2
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 9 of 26 PageID: 4615




                                 III.   ARGUMENT

     A. Legal Standard

        Standing to sue is a threshold requirement that must be present at the time the

  suit is brought. Sicom Sys. v. Agilent Techs., Inc., 427 F.3d 971, 975-76 (Fed. Cir.

  2005). A plaintiff must have both constitutional and prudential standing. See Alps

  S., LLC v. Ohio Willow Wood Co., 787 F.3d 1379, 1382 (Fed. Cir. 2015); Int’l

  Gameco, Inc. v. Multimedia Games, Inc., 504 F.3d 1273, 1276 (Fed. Cir. 2007).

        In patent cases, courts analyze what rights are held by a plaintiff to determine

  whether a plaintiff has the requisite standing. Alfred E. Mann Found. for Sci.

  Research v. Cochlear Corp., 604 F.3d 1354, 1360-61 (Fed. Cir. 2010). Patent rights

  may be transferred by licenses, assignments, or other contracts—including litigation

  funding agreements. Regardless of the instrument by which patent rights are

                                            3
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 10 of 26 PageID: 4616




  transferred, the underlying premise does not change: a party must hold the

  substantial rights to maintain standing. Morrow v. Microsoft Corp., 499 F.3d 1332,

  1332 (Fed. Cir. 2007); see also Vaupel Textilmaschinen KG v. Meccanica Euro

  Italia SPA, 944 F.2d 870, 875 (Fed. Cir. 1991). To make this determination, the

  court should focus on the intention of the parties to the agreement and the substance

  of what was granted. See Sicom, 427 F.3d at 979. Substantial rights include, among

  others, the right to bring suit for patent infringement, the right to receive a portion

  of the recovery, the right to license the patents, and the right to settle the infringement

  suits. Alfred Mann, 604 F.3d at 1360; Morrow, 499 F.3d at 1342.

         When analyzing prudential standing, courts recognize three general categories

  of plaintiffs: “[1] those that can sue in their own name alone; [2] those that can sue

  as long as the patent owner is joined in the suit; and [3] those that cannot even

  participate as a party to an infringement suit.” Morrow, 499 F.3d at 1339. A plaintiff

  in this second category, such as WAG, lacks prudential standing and cannot sue for

  infringement in its own name. Intellectual Prop. Dev., Inc. v. TCI Cablevision of

  Cal., Inc., 248 F.3d 1333, 1348 (Fed. Cir. 2001). To cure prudential standing, the

  absent party with substantial rights, such as WLF, must be joined before the lawsuit

  is filed. Int’l Gameco, 504 F.3d at 1278; Trendx Enters. v. All-Luminum Prods., 856

  F. Supp. 2d 661, 672 (D.N.J. Apr. 18, 2012).



                                              4
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 11 of 26 PageID: 4617




     B.

             1.


          The Federal Circuit has noted that a “paramount consideration” to determine

  whether a party has substantial rights in a patent is whether a party has the right to

  bring litigation to enforce the patent. R&R at 13; see also Alfred Mann, 604 F.3d at

  1361.




                                  . See Morrow, 499 F.3d at 1391 (discounting the

  significance of the plaintiff’s ability to sue because of the limitations imposed by a

  non-party).




                                            5
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 12 of 26 PageID: 4618




         The R&R cites Alfred Mann to support the analysis that WAG has substantial

  rights, in part,                                        R&R at 17-18. But that case

  addressed whether “the patent owner transferred away sufficient rights to divest it

  of any right to sue.” Id. at 17. This case is distinguishable from the Alfred Mann

  case where AMF demonstrated the ability to bring and settle lawsuits independently

  of a third-party licensee, Alfred Mann, 604 F.3d at 1362,




                                   The R&R’s reliance on Alfred Mann is misplaced,

  and this factor does not demonstrate that WAG retains substantial rights in the

  patents-at-issue.

             2.



                                                   . In the analogous Sicom decision,

  the court found that the plaintiff failed to show it has substantial rights under the

  patent-at-issue, in part, because “Sicom does not have the right to settle litigation

  without the prior written consent from Canada.” Sicom, 427 F.3d at 979 (emphasis

  added); see also Morrow, 499 F.3d at 1341-42.

                                            6
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 13 of 26 PageID: 4619




                                                                                   For

  example, in Alfred Mann, the Federal Circuit found that AMF had a “broad right” to

  control the litigation because it could, in part, solely determine the terms on which

  the litigation would be settled. 604 F.3d at 1362. That is not the case here.




                                            7
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 14 of 26 PageID: 4620




                                          See Propat Int’l Corp. v. Rpost, Inc., 473 F.3d

  1187, 1192 (Fed. Cir. 2007) (concluding that plaintiff did not have substantial rights

  because it must obtain consent to litigation decisions from patentee).




            3.




                                                                     1
                                                                         The Federal Circuit

  has held that the right to sue is less important, and can be rendered illusory, if another

  party is able to settle the litigation without involvement of the plaintiff.          See



  1




                                              8
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 15 of 26 PageID: 4621




  Speedplay, Inc. v. Bebop, Inc., 211 F.3d 1245, 1251 (Fed. Cir. 2000) (holding that

  right to sue was “illusory” because licensee held right to sublicense); see also Alfred

  Mann, 604 F.3d at 1361.




                                                                                    The

  Federal Circuit in Morrow, however, rejected potential future beneficiary ownership

  interests as sufficient to establish that a party (GUCLT) had substantial rights to

  establish standing. Morrow, 499 F.3d at 1343. Here, unlike in Morrow,




  2
    In fact, Morrow supports Defendants’ position that WAG lacks substantial rights.
  In Morrow, the court held that GUCLT lacked standing because GUCLT lacked
  substantial rights in the patent even though it maintained the right to initiate
  litigation. Morrow, 499 F.3d at 1342.



                                            9
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 16 of 26 PageID: 4622




         In Alfred Mann, the court found that AMF had substantial rights and standing

  to sue because AMF could decide what claims to assert, what damages to seek,

  whether to seek injunctive relief, whether to settle the litigation, and on what terms

  the litigation would be settled. Alfred Mann, 604 F.3d at 1362.




            4.



  R&R at 13. The fact that a party receives a substantial share of the proceeds from

  licensing or litigation over a patent is consistent with ownership rights in the patent.

  See Propat, 473 F.3d at 1191. In Propat, the patentee was entitled to fifty percent

  of the proceeds of litigation. Id. at 1192.




  Similar to GUCLT in Morrow,
                                             . Id. at 1344.
                                            10
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 17 of 26 PageID: 4623




                                 .4 In Propat, the Federal Circuit found that the patentee

  retained an equity interest in the proceeds of licensing and litigation activities, a right

  to notice of licensing and litigation decisions, a right to veto those decisions if not

  unreasonable, and an unrestricted ability to bar the licensee from transferring interest

  in the patent to a third-party. Propat, 473 F.3d at 1191. The court then found that

  “in no case” has it held that a party who retains such “broad and wide-ranging




  3
    The financial details of the agreements between WAG and WLF are redacted so it
  is impossible for Defendants to fully address this issue.
  4




                                              11
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 18 of 26 PageID: 4624




  powers” with respect to a patent does not have substantial rights in the patent. Id.




     C.

             1.



                                                                . On multiple occasions,

  the Federal Circuit has underscored the importance of the ability to license to third

  parties in its constitutional standing analysis. See Morrow, 499 F.3d at 1342 (stating

  that the right to license third parties is an important patent right); see also Textile

  Prods., Inc. v. Mead Corp., 134 F.3d 1481, 1485 (Fed. Cir. 1998).

          In Propat, the Federal Circuit found that the patentee’s right to veto licensing

  and litigation decisions “constitutes a significant restriction on [the plaintiff’s]

  interest in the patent.” Propat, 473 F.3d at 1191. This right was subject to the same

  reasonableness standard that WLF is subject to here. Yet the court still found that

  this veto power demonstrated substantial ongoing control that is typically associated

  with ownership interest in the patent. Id.




                                             12
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 19 of 26 PageID: 4625




                     . In Speedplay, the Federal Circuit found that the patentee’s

  inability to unreasonably withhold its consent to a license did not significantly curtail

  the plaintiff’s rights. Speedplay, 211 F.3d at 1251-52. The court made this finding,

  however, only after determining that the patentee’s only reasonable basis would be

  the impairment of their consideration for entering into the agreement. Id. No such

  finding has been made in this case.




                                                   the R&R’s reliance on Speedplay is

  misplaced. R&R at 15-17.

            2.




                                             13
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 20 of 26 PageID: 4626




          In Propat, the Federal Circuit found that a restriction on the ability to transfer

  rights under an agreement is “particularly significant.” Propat, 473 F.3d at 1191.

  The court reasoned that the right to dispose of an asset is an important incident of

  ownership and that such a restriction is a “strong indicator” that the agreement did

  not grant the plaintiff all substantial rights in the patent. Id. In Propat, the patentee

  had the right to veto, even arbitrarily, the plaintiff’s rights under the agreement. Id.




                               Id.; see also Sicom, 427 F.3d at 979 (referring to the

  plaintiff’s inability to transfer rights under the agreement as fatal to its argument that

  all substantial rights had been transferred).

     D.
             1.




                                                   . In Propat, the court found that the

  patentee’s ability to terminate the agreement if certain benchmarks were not met by

                                              14
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 21 of 26 PageID: 4627




  the plaintiff was an indication that the patentee retained significant rights in the

  patent.   Propat, 473 F.3d at 1191-92.




            2. The Threat of Multiple Lawsuits Exists

        The R&R also discounts the possibility that there could be multiple lawsuits

  for the same infringement or inconsistent liability concerning the patents-at-issue.

  R&R at 24. The R&R reasons




                                          15
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 22 of 26 PageID: 4628




     E.


          Defendants do not dispute that WAG holds legal title to the patents

                                                                      WAG’s retention

  of these rights, however, is not dispositive.




                     . In Intellectual Prop. Dev., the Federal Circuit found that IPD did

  not have substantial rights in the patent-at-issue even though it retained the right to

  make, use, or sell the claimed invention. Intellectual Prop. Dev., 248 F.3d at 1344.

  Because “every other pertinent factor weigh[ed] in favor” of finding that CPL

  contained substantial rights in the patent, IPD was found to lack standing on its own.

  Id. The same is true here.

          In Alfred Mann, the Federal Circuit considered a list of rights to determine

  whether all substantial rights in the patent had been transferred. Alfred Mann, 604

  F.3d at 1360-61; R&R at 14. The table below sets out what party in this action

  retains each such right:




                                            16
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 23 of 26 PageID: 4629




                   Rights                         Party that Retains the Right




                                                                                 which

  compels the conclusion that WAG, by itself, lacks standing in these Litigations—

  WLF must be joined.5




  5
   As Defendants stated in their briefing supporting their motions to dismiss, Federal
  Circuit precedent is clear that dismissal is required because even under the tenets of
  prudential standing, WLF must have been joined with WAG “before initiating suit.”
  Int’l Gameco, 504 F.3d at 1278; Trendx Enters., 856 F. Supp. 2d at 672; Rd. Sci.,
  L.L.C. v. Cont’l W. Transp. Co., 2009 U.S. Dist. LEXIS 122262, at *11 (E.D. Cal.
  Dec. 14, 2009).
                                           17
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 24 of 26 PageID: 4630




                                IV.    CONCLUSION

        For the foregoing reasons, and those set forth in Defendants’ original moving

  papers, Defendants respectfully object to the R&R and request that this Court grant

  Defendants’ motion to dismiss for lack of subject matter jurisdiction.



  Dated: November 6, 2018                Respectfully submitted,



                                         s/ Justin T. Quinn
                                         Justin T. Quinn
                                         ROBINSON MILLER LLC
                                         One Newark Center
                                         Newark, NJ 07102
                                         Telephone No.: (973) 690-5400
                                         Facsimile No.: (973) 466-2760
                                         JQuinn@rwmlegal.com

                                         Attorneys for Defendants FriendFinder
                                         Networks Inc., Streamray Inc., Multi Media,
                                         LLC, WMM, LLC and WMM Holdings, LLC,
                                         WebPower, Accretive Technology Group,
                                         Inc., ICF Technology Group, Inc., Riser
                                         Apps, LLC, Duodecad IT Services
                                         Luxembourg S.à r.l. and Docler Media LLC




                                           18
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 25 of 26 PageID: 4631




                                      Frank M. Gasparo (Pro Hac Vice)
                                      Ralph A. Dengler (Pro Hac Vice)
                                      Todd M. Nosher
                                      Andrew P. MacArthur
                                      Gianna E. Cricco-Lizza
                                      VENABLE LLP
                                      1270 Avenue of the Americas
                                      New York, New York 10020
                                      Telephone No.: (212) 307-5500
                                      Facsimile No.: (212) 307-5598
                                      FMGasparo@venable.com
                                      RADengler@venable.com
                                      TMNosher@venable.com
                                      APMacArthur@Venable.com
                                      GECricco-Lizza@Venable.com

                                      Attorneys for Defendants FriendFinder
                                      Networks Inc., Streamray Inc., Multi Media,
                                      LLC, WMM, LLC,WMM Holdings, LLC,
                                      and WebPower Inc.


                                      Brian G. Bodine (Pro Hac Vice)
                                      Steven B. Winters (Pro Hac Vice)
                                      LANE POWELL PC
                                      1420 Fifth Ave., Suite 4200
                                      Seattle, WA 98111-9402
                                      Telephone: (206) 223-7000
                                      bodineb@lanepowell.com
                                      winterss@lanepowell.com
                                      sheffieldj@lanepowell.com
                                      scolaa@lanepowell.com


                                      Attorneys for Defendants Accretive
                                      Technology Group, Inc., ICF Technology,
                                      Inc., Riser Apps LLC, and Vubeology, Inc.


                                        19
Case 2:14-cv-02340-ES-MAH Document 182-2 Filed 12/12/18 Page 26 of 26 PageID: 4632




                                      Kevin O’Brien (Pro Hac Vice)
                                      Richard V. Wells (Pro Hac Vice)
                                      BAKER & McKENZIE, LLP
                                      815 Connecticut Avenue, N.W.
                                      Washington, D.C. 20006
                                      Telephone No.: (202) 835-6143
                                      Facsimile No.: (202) 416-7143
                                      Kevin.O’Brien@bakermckenzie.com
                                      Richard.Wells@bakermckenzie.com

                                      Attorneys for Defendants Duodecad IT
                                      Services
                                      Luxembourg S.à r.l. and Docler Media LLC




                                        20
